                                   Case 20-11835-JTD                 Doc 1       Filed 07/22/20            Page 1 of 25


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                      Chapter      11
                                                                                                                             Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Global Eagle Entertainment Inc.

2.   All other names debtor       DBA     Airline Media Productions
     used in the last 8 years     DBA     Ambient Digital Media
     Include any assumed
                                  DBA     AMP Inc.
     names, trade names and       DBA     AMP INT'L
     doing business as names      DBA     CP USA
                                  DBA     Criterion Pictures
                                  DBA     Criterion Pictures USA
                                  DBA     GEE
                                  DBA     Global Eagle
                                  DBA     Media Orbit
                                  DBA     Over the Line
                                  DBA     Post Modern Group
                                  DBA     Sea Movies

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  6080 Center Drive
                                  Suite 1200
                                  Los Angeles, CA 90045
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Los Angeles                                                     Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.globaleagle.com


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                     Partnership (excluding LLP)
                                     Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                       Case 20-11835-JTD                 Doc 1         Filed 07/22/20              Page 2 of 25
Debtor    Global Eagle Entertainment Inc.                                                               Case number (if known)
          Name



7.   Describe debtor's business         A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                        B. Check all that apply
                                         Tax-exempt entity (as described in 26 U.S.C. §501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                         Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                           See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5179

8.   Under which chapter of the         Check one:
     Bankruptcy Code is the
     debtor filing?
                                           Chapter 7
                                           Chapter 9

     A debtor who is a “small              Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                   operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                              exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                    debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

9.   Were prior bankruptcy
     cases filed by or against
                                         No.
     the debtor within the last 8        Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number


10. Are any bankruptcy cases             No
    pending or being filed by a
    business partner or an               Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     See Schedule 1                                                  Relationship            Affiliate
                                                  District                                 When                              Case number, if known


Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                                Case 20-11835-JTD                      Doc 1      Filed 07/22/20             Page 3 of 25
Debtor   Global Eagle Entertainment Inc.                                                         Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or
    have possession of any
                                 No
                                           Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    real property or personal    Yes.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes.       Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information        (on a consolidated basis)

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                    50-99                                          5001-10,000                               50,001-100,000
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                                  Case 20-11835-JTD                   Doc 1        Filed 07/22/20             Page 4 of 25
Debtor    Global Eagle Entertainment Inc.                                                          Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      July 22, 2020
                                                  MM / DD / YYYY


                             X   /s/ Christian M. Mezger                                                  Christian M. Mezger
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Financial Officer




18. Signature of attorney    X   /s/ Michael R. Nestor                                                     Date July 22, 2020
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Michael R. Nestor
                                 Printed name

                                 Young Conaway Stargatt & Taylor, LLP
                                 Firm name

                                 Rodney Square
                                 1000 N. King Street
                                 Wilmington, DE 19801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (302) 571-6600                Email address      mnestor@ycst.com

                                 3526 DE
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
               Case 20-11835-JTD          Doc 1    Filed 07/22/20      Page 5 of 25




                                          SCHEDULE 1

               Pending Bankruptcy Cases Filed by the Debtor and Its Affiliates

        On the date hereof, each of the entities listed below (including the debtor in this chapter 11
case, collectively, the “Debtors”) commenced with the United States Bankruptcy Court for the
District of Delaware voluntary cases under chapter 11 of title 11 of the United States Code. The
Debtors are seeking to have their chapter 11 cases jointly administered for procedural purposes
only under the case number assigned to Global Eagle Entertainment Inc.

                                  Airline Media Productions, Inc.

                            Emerging Markets Communications, LLC

                                   Entertainment in Motion, Inc.

                                  Global Eagle Entertainment Inc.

                      Global Eagle Entertainment Operations Solutions, Inc.

                                    Global Eagle Services, LLC

                         Global Eagle Telecom Licensing Subsidiary LLC

                                     IFE Services (USA), Inc.

                                   Inflight Productions USA Inc.

                           Maritime Telecommunications Network, Inc.

                                 MTN Government Services, Inc.

                                      MTN International, Inc.

                                        MTN License Corp.

                                           N44HQ, LLC

                                       Post Modern Edit, Inc.

                                            Row 44, Inc.

                                         The Lab Aero, Inc.
                Case 20-11835-JTD          Doc 1     Filed 07/22/20      Page 6 of 25




                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

--------------------------------------------------------- x
                                                          :
In re:                                                    : Chapter 11
                                                          :
GLOBAL EAGLE ENTERTAINMENT INC., : Case No. 20-_____ (___)
                                                          :
                    Debtor.                               : Tax I.D. No. XX-XXXXXXX
                                                          :
--------------------------------------------------------- x

                ATTACHMENT TO VOLUNTARY PETITION FOR
        NON-INDIVIDUALS FILING FOR BANKRUPTCY UNDER CHAPTER 11

      1.     If any of the debtor’s securities are registered under Section 12 of the Securities
Exchange Act of 1934, the SEC file number is 001-35176.

       2.      The following financial data is the latest available information and refers to the
debtor’s condition on July 8, 2020.

                a.      Total assets:                                            $630.5 million

                b.      Total debts (including debts listed in 2.c below):       $1.086 billion

                c.      Debt securities held by more than 500 holders:           N/A

                d.      Number of shares of preferred stock:                     N/A

                e.      Number of shares of common stock:                        3,753,807

        Comments, if any: N/A.

       3.     Brief description of Debtor’s business: Global Eagle Entertainment Inc. is a leading
provider of media, content, connectivity and data analytics to markets across air, sea and land.

       4.      List the names of any person who directly or indirectly owns, controls, or holds,
with power to vote, 5% or more of the voting securities of debtor: Nantahala Capital Management,
LLC; ABRY Partners, LLC; Searchlight II TBO-W, L.P.; and Frontier Capital Management Co.,
LLC.
DocuSign Envelope ID: 122A1537-814B-430C-9821-F3B575D64BA0
                              Case 20-11835-JTD              Doc 1   Filed 07/22/20   Page 7 of 25



                                      CERTIFICATE OF CORPORATE SECRETARY OF
                                         GLOBAL EAGLE ENTERTAINMENT INC.

                                                             JULY 21, 2020

                     I, the undersigned, duly elected, qualified, and acting Corporate Secretary of Global Eagle
             Entertainment Inc., a Delaware corporation (the “Company”), do hereby certify solely on behalf
             of the Company and not in my individual capacity, that in such capacity, I am authorized to execute
             this Certificate on behalf of the Company, and further certify that:

                    Attached hereto as Exhibit A is a true, correct, and complete copy of the resolutions duly
             adopted by the Board of Directors of the Company on the date hereof, and that such resolutions
             (a) have not been amended, rescinded, or modified since their adoption and remain in full force
             and effect as of the date hereof, and (b) were adopted in accordance with the provisions of
             applicable law and the Company’s organizational documents.

                      IN WITNESS WHEREOF, the undersigned has executed this certificate as of the date
             first set forth above.




                                                                       ___________________________
                                                                       Kim Nakamaru
Case 20-11835-JTD    Doc 1   Filed 07/22/20   Page 8 of 25




                      EXHIBIT A

                    Board Resolutions
               Case 20-11835-JTD          Doc 1     Filed 07/22/20      Page 9 of 25




                                 RESOLUTIONS OF
                            THE BOARD OF DIRECTORS OF
                         GLOBAL EAGLE ENTERTAINMENT INC.

        WHEREAS, the members of the Board of Directors (the “Board”) of Global Eagle
Entertainment Inc., a Delaware corporation (the “Company”), have reviewed and had the
opportunity to ask questions about the materials presented by management and the legal and
financial advisors of the Company regarding the indebtedness, liabilities and liquidity of the
Company, the strategic alternatives available to the Company, and the impact of the foregoing on
the Company’s business;

        WHEREAS, the Board has had the opportunity to consult with the management and the
legal and financial advisors of the Company to fully consider, and have considered, the strategic
alternatives available to the Company;

        WHEREAS, on or about April 17, 2020, the Board established a committee of the Board
(the “Strategic Transaction Committee”), consisting of at least three Qualified Independent
Directors (as defined in the unanimous written consent establishing such committee). In addition
to approval of the Board, the Strategic Transaction Committee’s approval is required in connection
with any financing, recapitalization, strategic transactions and other similar opportunities and
transactions for the Company and its subsidiaries (a “Transaction”).

       WHEREAS, the Board understands that the Strategic Transaction Committee supports and
intends to approve the Transactions contemplated herein concurrently; and

       WHEREAS, the Board desires to approve the following resolutions.

I.     Commencement of Chapter 11 Case

        NOW, THEREFORE, BE IT RESOLVED, that the Board has determined, after
consultation with the management and the legal and financial advisors of the Company, that it is
desirable and in the best interests of the Company, its creditors, and other parties in interest that a
petition be filed by the Company seeking relief under the provisions of chapter 11 of title 11 of the
United States Code (the “Bankruptcy Code”); and be it further

        RESOLVED, that any officer of the Company (each, an “Authorized Officer”) in each
case, acting singly or jointly, be, and each hereby is, authorized, empowered, and directed, with
full power of delegation, to negotiate, execute, deliver, and file in the name and on behalf of the
Company, and under its seal or otherwise, all plans, petitions, schedules, statements, motions, lists,
applications, pleadings, papers, affidavits, declarations, orders, and other documents in the United
States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”), and, in
connection therewith, to take and perform any and all further acts and deeds which such Authorized
Officer deems necessary, proper, or desirable in connection with the Company’s chapter 11 case
(the “Chapter 11 Case”), including, without limitation, (a) the payment of fees, costs, expenses,
and taxes such Authorized Officer deems necessary, appropriate, or desirable, and (b) negotiating,
executing, delivering, performing, filing and/or recording any and all additional documents,
schedules, statements, lists, papers, agreements, certificates, notices, and instruments (or any
              Case 20-11835-JTD         Doc 1     Filed 07/22/20     Page 10 of 25




amendments, supplements or modifications thereto) in connection with, or in furtherance of, the
Chapter 11 Case, with a view to the successful prosecution of the Chapter 11 Case (such acts to be
conclusive evidence that such Authorized Officer deemed the same to meet such standard); and be
it further

II.    Restructuring Support Agreement

          RESOLVED, that in connection with the Chapter 11 Case, the Board has determined that
it is in the best interests of the Company to enter into a restructuring support agreement (together
with any exhibits and other attachments annexed thereto, including, without limitation, the Bidding
Procedures and Asset Purchase Agreement, the “Restructuring Support Agreement”) on terms
and conditions substantially similar to those set forth in the form of Restructuring Support
Agreement previously provided to the Board (with such changes as may be approved pursuant to
the delegation set forth herein); and be it further;

       RESOLVED, that, the Board hereby delegates to each Authorized Officer the authority to
approve the form, terms, and provisions of the Restructuring Support Agreement and the
execution, delivery, and performance thereof and the consummation of the transactions
contemplated thereunder by the Company, including, without limitation, the amount of, and the
making of, any payments to be made in connection therewith; and be it further

        RESOLVED, that any Authorized Officer, in each case, acting singly or jointly, be, and
each hereby is, authorized, empowered, and directed, in the name and on behalf of the Company,
to cause the Company to enter into, execute, deliver, certify, file and/or record, and perform the
obligations arising under, the Restructuring Support Agreement, together with such other
documents, agreements, instruments, notices, and certificates as may be required by the
Restructuring Support Agreement; and be it further

        RESOLVED, that any Authorized Officer, in each case, acting singly or jointly, be, and
each hereby is, authorized, empowered, and directed, in the name and on behalf of the Company,
to execute and deliver any amendments, supplements, modifications, renewals, replacements,
consolidations, substitutions, and extensions of the Restructuring Support Agreement and/or any
related documents which shall, in such Authorized Officer’s sole judgment, be necessary, proper
or advisable; and be it further

III.   Debtor-in-Possession Financing

         RESOLVED, that in connection with the Chapter 11 Case, the Board has determined that
it is in the best interests of the Company to consummate the transactions under (i) that certain
senior secured super priority debtor-in-possession credit facility consisting of a term loan credit
facility of up to $80 million to be evidenced by that certain Senior Secured Super Priority Debtor-
In-Possession Credit Agreement by and among the Company, the subsidiaries of the Company
party thereto, the lenders from time to time party thereto, and Citibank, N.A., as administrative
agent and collateral agent (together with the Exhibits and Schedules annexed thereto, the “DIP
Credit Agreement”) on terms and conditions substantially similar to those set forth in the form
of DIP Credit Agreement previously provided to the Board (with such changes as may be approved
pursuant to the delegation set forth herein) and subject to approval of the Bankruptcy Court and

                                                 2
               Case 20-11835-JTD          Doc 1     Filed 07/22/20      Page 11 of 25




(ii) that certain senior secured super priority debtor in-possession letter of credit facility providing
for letters of credit in an aggregate face amount up to $10 million that will be cash collateralized
with the proceeds of the loans made under the DIP Credit Agreement, to be evidenced by a letter
of credit reimbursement agreement, by and between the Company and Citibank, N.A., as issuing
bank (together with the Exhibits and Schedules annexed thereto, the “DIP Letter of Credit
Facility”) on terms and conditions described in the interim order granting the motion for approval
of the debtor-in-possession (with such changes and additional terms as may be approved pursuant
to the delegation set forth herein), and subject to approval of the Bankruptcy Court, which, in each
case, are necessary and appropriate to the conduct of the business of the Company (collectively,
the “Debtor-in-Possession Financing”); and be it further

        RESOLVED, that, the Board hereby delegates to each Authorized Officer the authority to
approve the form, terms and provisions the DIP Credit Agreement, including the use of proceeds
to provide liquidity for the Company throughout the Chapter 11 Case and such other uses as
described in the DIP Credit Agreement or DIP Letter of Credit Facility, any and all of guarantees,
security agreements, pledge agreements, reaffirmations, promissory notes, fee letters, escrow
agreements, letters, notices, certificates, documents, and instruments authorized, executed,
delivered, reaffirmed, verified, and/or filed, registered or recorded in connection with the Debtor-
in-Possession Financing (collectively, the “DIP Financing Documents”) or that may be
necessary, appropriate, desirable, or advisable in connection with the DIP Credit Agreement and
the transactions contemplated thereby or otherwise contemplated by the DIP Credit Agreement or
by any such other DIP Financing Document; and be it further

        RESOLVED, that any Authorized Officer, in each case, acting singly or jointly, be, and
each hereby is, authorized, empowered, and directed, in the name and on behalf of the Company,
to cause the Company to enter into, execute, deliver, certify, file and/or record, and perform the
obligations arising under, the DIP Credit Agreement and any other DIP Financing Document,
together with such other documents, agreements, instruments, and certificates as may be required
by the DIP Credit Agreement and any other DIP Financing Document, in accordance with the
terms hereof; and be it further

       RESOLVED, that any Authorized Officer, in each case, acting singly or jointly, be, and
each hereby is, authorized, empowered, and directed, in the name and on behalf of the Company,
to execute and deliver any amendments, supplements, modifications, renewals, replacements,
consolidations, substitutions, and extensions of the DIP Credit Agreement and any other DIP
Financing Document and/or any related documents or instruments which shall, in such Authorized
Officer’s sole judgment, be necessary, proper or advisable; and be it further

IV.    Retention of Advisors

        RESOLVED, that, in connection with the Company’s Chapter 11 Case, any Authorized
Officer, in each case, acting singly or jointly, be, and each hereby is, authorized empowered, and
directed, with full power of delegation, in the name and on behalf of the Company, to employ and
retain all assistance by legal counsel, accountants, financial advisors, investment bankers, and
other professionals which such Authorized Officer deems necessary, appropriate, advisable or
desirable in connection with the Chapter 11 Case and the transactions contemplated thereby (such


                                                   3
              Case 20-11835-JTD          Doc 1    Filed 07/22/20     Page 12 of 25




acts to be conclusive evidence that such Authorized Officer deemed the same to meet such
standard); and be it further

        RESOLVED, that the firm of Latham & Watkins LLP is hereby retained as legal counsel
for the Company in connection with the Chapter 11 Case, subject to Bankruptcy Court approval;
and be it further

        RESOLVED, that the firm of Young Conaway Stargatt & Taylor LLP is hereby retained
as legal counsel for the Company in connection with the Chapter 11 Case, subject to Bankruptcy
Court approval; and be it further

       RESOLVED, that the firm of Greenhill & Co., LLC is hereby retained as investment
banker for the Company in connection with the Chapter 11 Case, subject to Bankruptcy Court
approval; and be it further

       RESOLVED, that the firm of Alvarez & Marsal North America, LLC is hereby retained
as financial advisor for the Company in connection with the Chapter 11 Case, subject to
Bankruptcy Court approval; and be it further

        RESOLVED, that the firm of Prime Clerk LLC is hereby retained as claims, noticing, and
solicitation agent and administrative advisor in connection with the Chapter 11 Case, subject to
Bankruptcy Court approval; and be it further

       RESOLVED, that the firm of PricewaterhouseCoopers LLP, is hereby retained as tax
advisor for the Company in connection with the Chapter 11 Case, subject to Bankruptcy Court
approval; and be it further

V.     Amendments to Existing Credit Agreement

        RESOLVED, that, in connection with the Company’s Chapter 11 Case, the prior
negotiation, execution and delivery of any amendments, supplements or modifications to that
certain Credit Agreement, dated as of January 6, 2017, by and among the Company, the guarantors
party thereto, the lenders and letter of credit issuers party thereto and Citibank, N.A., as
administrative agent, and the performance by the Company of its obligations thereunder, are
hereby deemed to be in the best interests of the Company and are hereby ratified, approved,
confirmed and reaffirmed in all respects; and be it further

VI.    General Authorization and Ratification

        RESOLVED, that any Authorized Officer, in each case acting singly or jointly, be, and
each hereby is, authorized, empowered, and directed, in the name and on behalf of the Company,
to cause the Company to enter into, execute, deliver, certify, file, register and/or record, and
perform, such agreements, instruments, motions, affidavits, rulings of governmental or regulatory
authorities, certificates, or other documents, and to take such other actions that in the judgment of
the Authorized Officer shall be or become necessary, proper, advisable, or desirable in connection
with the Chapter 11 Case, the Restructuring Support Agreement and the DIP Credit Agreement or
any other DIP Financing Document, or any of the transactions contemplated by the foregoing; and
be it further

                                                 4
              Case 20-11835-JTD          Doc 1    Filed 07/22/20     Page 13 of 25




        RESOLVED, that any and all past actions heretofore taken by any Authorized Officer in
the name and on behalf of the Company in furtherance of any or all of the preceding resolutions
be, and the same hereby are, ratified, confirmed, reaffirmed and approved in all respects; and be it
further

        RESOLVED, that the Corporate Secretary of the Company is authorized to place a copy
of these resolutions in the official records of the Company to document the actions set forth herein
as actions taken by the Board; and be it further

VII.   Subsidiary Actions

        RESOLVED, that the Board hereby authorizes and instructs the governing bodies of each
of the Company’s subsidiaries to adopt substantially similar resolutions to the resolutions set forth
above; and be it further

        RESOLVED, that any Authorized Officer is hereby authorized and directed to execute, on
behalf of the Company in its capacity as member, shareholder, partner or equivalent thereof of any
subsidiary of the Company, any stockholder, shareholder, member, partner, or similar consent
required or requested by any subsidiary of the Company to authorize it to take any of the actions
contemplated by the Restructuring Support Agreement, including the filing of the Chapter 11 Case.




                                                 5
                                                    Case 20-11835-JTD                            Doc 1             Filed 07/22/20                     Page 14 of 25



     Fill in this information to identify the case:
     Debtor name: Global Eagle Entertainment Inc.
     United States Bankruptcy Court for the: District of Delaware
     Case number (If known): TBD                                                                                                                                            Check if this is an
                                                                                                                                                                             amended filing

     Modified Form 204
     Chapter 11 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not
     Insiders                                                                                     12/15


     The Debtor and its debtor affiliates (collectively, the "Debtors") each filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code.
     The following is a consolidated list of the Debtors' creditors holding the 30 largest unsecured claims based on the Debtors' books and records estimated
     as of the petition date. This list is prepared in accordance with Bankruptcy Rule 1007(d) for filing in these chapter 11 cases. The list does not include:
     (1) persons who come within the definition of "insider" set forth in section 101 of the Bankruptcy C24 Code; (2) secured creditors, unless the
     unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30 largest unsecured claims; or (3) claims held
     by the Debtors' employees. The information presented in the list below shall not constitute an admission of liability by, nor is binding on, the Debtors,
     and the failure to list a claim as contingent, unliquidated, disputed, or subject to setoff does not constitute a waiver of any of the Debtors' right to
     contest the validity, priority, or amount of any claim. claims by secured creditors, unless the unsecured claim resulting from inadequate collateral
     value places the creditor among the holders of the 30 largest unsecured claims.

     Name of creditor and complete mailing address,      Name, telephone number, and email address of creditor contact           Nature of the Claim         Indicate if claim   Amount of unsecured claim
     including zip code                                                                                                          (for example, trade        is contingent,       If the claim is fully unsecured, fill in only unsecured
                                                                                                                                 debts, bank loans,         unliquidated, or     claim amount. If claim is partially secured, fill in total
                                                                                                                                 professional services,     disputed             claim amount and deduction for value of collateral or
                                                                                                                                 and government                                  setoff to calculate unsecured claim.
                                                                                                                                 contracts)
                                                                                                                                                                                 Total claim, if    Deduction for       Unsecured claim
                                                                                                                                                                                 partially          value of
                                                                                                                                                                                 secured            collateral or
                                                                                                                                                                                                    setoff

                                                         Attn: MICHAEL DEBOIS
   U.S. BANK NATIONAL ASSOCIATION
                                                         Title: CHIEF COUNSEL - GLOBAL CORPORATE TRUST SERVICES                    2.75% CONVERTIBLE
   425 WALNUT STREET
 1                                                       Phone: (513) 458-7924                                                     SENIOR NOTES DUE                                                                      $     82,500,000
   CINCINNATI, OH 45202                                                                                                                   2035
                                                         Email: MICHAEL.DEBOIS@USBANK.COM
                                                         Fax: (612) 303-0782

   NEW SKIES SATELLITES B.V.
                                                         Attn: STEVE COLLAR
   CHÂTEAU DE BETZDORF
                                                         Title: CEO
   RUE PIERRE WERNER
 2                                                       Phone: 352 71 07 25 227                                                    TRADE PAYABLES                                                                       $     26,614,764
   6815
                                                         Email: STEVE.COLLAR@SES.COM
   BETZDORF, 2517
                                                         Fax: (352) 710-725-227
   LUXEMBOURG


     INTELSAT USA SALES CORP                             Attn: STEVE SPENGLER
     7900 TYSONS ONE PLACE                               Title: CEO & DIRECTOR
 3                                                                                                                                  TRADE PAYABLES                                                                       $       9,750,453
     MCLEAN, VA 22102-5972                               Phone: (703) 559-6800
                                                         Email: STEVE.SPENGLER@INTELSAT.COM


     STAR SATELLITE COMMUNICATIONS                       Attn: MASOOD MAHMOOD
     COMPANY                                             Title: CEO
 4 AL FALAH CITY                                         Phone: 971 2 510 0000                                                      TRADE PAYABLES                                                                       $       3,565,127
     ABU DHABI,                                          Email: MMAHMOOD@YAHSAT.AE
     UNITED ARAB EMIRATES                                Fax: 971 2 510 0000


   BMG RIGHTS MANAGEMENT (US) LLC                        Attn: HARTWIG MASUCH
   6100 WILSHIRE BOULEVARD                               Title: CEO
 5 SUITE #1600                                           Phone: (212) 561-3000                                                       LICENSING FEES                                                                      $       3,500,000
   LOS ANGELES, CA 90048                                 Email: HARTWIG.MASUCH@BMG.COM
                                                         Fax: (323) 969-0968


                                                         Attn: PRADMAN KAUL
     HUGHES NETWORK SYSTEMS
                                                         Title: PRESIDENT & CEO
     11717 EXPLORATION LANE
 6                                                       Phone: (301) 428-5500                                                      TRADE PAYABLES                                                                       $       3,056,370
     GERMANTOWN, MD 20876
                                                         Email: PRADMAN.KAUL@HUGHES.COM
                                                         Fax: (301) 428-1868


   TELESAT INTERNATIONAL LIMITED                         Attn: DANIEL S. GOLDBERG
   160 ELGIN STREET                                      Title: PRESIDENT & CEO
 7 SUITE 2100                                            Phone: (613) 748-0123                                                      TRADE PAYABLES                                                                       $       2,505,555
   OTTAWA, ON K2P 2P7                                    Email: DGOLDBERG@TELESAT.COM
   CANADA                                                Fax: (613) 748-8712




Modified Form 204                                                            Chapter 11 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                                     Page 1
                                                Case 20-11835-JTD                              Doc 1             Filed 07/22/20                     Page 15 of 25
Debtor   Global Eagle Entertainment Inc.                                                                                                                                                                         Case number (if known): TBD




     Name of creditor and complete mailing address,   Name, telephone number, and email address of creditor contact            Nature of the Claim         Indicate if claim   Amount of unsecured claim
     including zip code                                                                                                        (for example, trade        is contingent,       If the claim is fully unsecured, fill in only unsecured
                                                                                                                               debts, bank loans,         unliquidated, or     claim amount. If claim is partially secured, fill in total
                                                                                                                               professional services,     disputed             claim amount and deduction for value of collateral or
                                                                                                                               and government                                  setoff to calculate unsecured claim.
                                                                                                                               contracts)
                                                                                                                                                                               Total claim, if    Deduction for       Unsecured claim
                                                                                                                                                                               partially          value of
                                                                                                                                                                               secured            collateral or
                                                                                                                                                                                                  setoff


   QEST QUANTENELEKTRONISCHE SYSTEME
                                                      Attn: MICHAEL STOBINSKI
   GMBH
                                                      Title: CCO
   MAX-EYTH-STR. 38
 8                                                    Phone: 49 7031 20495100                                                     TRADE PAYABLES                                                                       $       1,979,500
   GEOPARK II, ENTRANCE B, GROUND FLOOR
                                                      Email: MICHAEL.STOBINSKI@QEST.DE
   HOLZGERLINGEN, 71088
                                                      Fax: 49 7031 20495100
   GERMANY



                                                      Attn: NATHAN KAHANE
     LIONSGATE ENTERTAINMENT
                                                      Title: PRESIDENT
     2700 COLORADO AVENUE, 2ND FLOOR
 9                                                    Phone: (310) 449-9200                                                       TRADE PAYABLES                                                                       $       1,907,601
     SANTA MONICA, CA 90404
                                                      Email: INVESTORRELATIONS@LIONSGATE.COM
                                                      Fax: (310) 496-1319


   SANTANDER TELEPORT
   ALBERT EINSTEIN 44                                 Attn: CARLOS RABA ORUÑA
   SCIENTIFIC AND TECHNOLOGICAL PARK OF               Title: MANAGING DIRECTOR & CFO
10                                                                                                                                TRADE PAYABLES                                                                       $       1,879,236
   CANTABRIA (PCTCAN)                                 Phone: 34 942 01 63 46
   SANTANDER, 39011                                   Email: CARLOS@SANTANDERTELEPORT.COM
   SPAIN

   KPMG                                               Attn: RAYMOND S. ANDERSON
   550 SOUTH HOPE STREET                              Title: PARTNER
11 SUITE 1500                                         Phone: (203) 979-8830                                                       TRADE PAYABLES                                                                       $       1,311,845
   LOS ANGELES, CA 90071                              Email: RANDERSON@KPMG.COM
                                                      Fax: (213) 622-1217


     SONY/ATV                                         Attn: JON PLATT
     25 MADISON AVE.                                  Title: CHAIRMAN & CEO
12 24TH FLOOR                                         Phone: (212) 833-7730                                                        LICENSING FEES                                                                      $       1,200,000
     NEW YORK, NY 10010                               Email: JON.PLATT@SONYATV.COM
                                                      Fax: (212) 930-9725


                                                      Attn: ROBERT ISOM
   AMERICAN AIRLINES, INC.
                                                      Title: PRESIDENT
   1 SKYVIEW DRIVE
13                                                    Phone: (817) 963-1234                                                       TRADE PAYABLES                                                                       $       1,137,600
   FORT WORTH, TX 76155
                                                      Email: ROBERT.ISOM@AA.COM
                                                      Fax: (817) 967-9641; (480) 693-5546



   ARABSAT
                                                      Attn: MOHAMED BENAICHOUCHE
   DIPLOMATIC QUARTER, ALFAZARI SQUARE
                                                      Title: CIO
   ABDULLA BIN HUTHAFA AL SAHMY STREET
14                                                    Phone: 966 11 482 0000                                                      TRADE PAYABLES                                                                       $       1,046,623
   PUBLIC PENSION AGENCY COMPLEX, C-6
                                                      Email: MOHAMEDB@ARABSAT.COM
   RIYADH, 11431
                                                      Fax: 966 11 488 7999
   SAUDI ARABIA



                                                      Attn: STEPHEN SALEM
   ASIA BROADCAST SATELLITE LIMITED
                                                      Title: GENERAL COUNSEL
   OHARA HOUSE 3 BERMUDIAN ROAD
15                                                    Phone: 1 63 47 252 9012                                                     TRADE PAYABLES                                                                       $         964,770
   HAMILTON, HM08
                                                      Email: INFO@ABSATELLITE.COM
   BERMUDA
                                                      Fax: 63 47 252-9002


                                                      Attn: PAUL ROBINSON
   WARNER MUSIC GROUP
                                                      Title: EVP & GENERAL COUNSEL
   1633 BROADWAY
16                                                    Phone: (818) 238-6320                                                        LICENSING FEES                                                                      $         818,610
   NEW YORK, NY 10019
                                                      Email: PAUL.ROBINSON@WMG.COM
                                                      Fax: (212) 954-5489



     INNOVA SOLUTIONS                                 Attn: RAJKUMAR VELAGAPUDI
     2400 MEADOWBROOK PARKWAY                         Title: PRESIDENT & CEO
17                                                                                                                                TRADE PAYABLES                                                                       $         693,484
     DULUTH, GA 30096                                 Phone: (770) 493-5588
                                                      Email: RAJKUMAR.VELAGAPUDI@INNOVASOLUTIONS.COM




Modified Form 204                                                          Chapter 11 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                                     Page 2
                                                Case 20-11835-JTD                             Doc 1             Filed 07/22/20                     Page 16 of 25
Debtor   Global Eagle Entertainment Inc.                                                                                                                                                                        Case number (if known): TBD




     Name of creditor and complete mailing address,   Name, telephone number, and email address of creditor contact           Nature of the Claim         Indicate if claim   Amount of unsecured claim
     including zip code                                                                                                       (for example, trade        is contingent,       If the claim is fully unsecured, fill in only unsecured
                                                                                                                              debts, bank loans,         unliquidated, or     claim amount. If claim is partially secured, fill in total
                                                                                                                              professional services,     disputed             claim amount and deduction for value of collateral or
                                                                                                                              and government                                  setoff to calculate unsecured claim.
                                                                                                                              contracts)
                                                                                                                                                                              Total claim, if    Deduction for       Unsecured claim
                                                                                                                                                                              partially          value of
                                                                                                                                                                              secured            collateral or
                                                                                                                                                                                                 setoff

     PARAMOUNT PICTURES                               Attn: EMMA WATTS
     THE STUDIOS AT PARAMOUNT                         Title: PRESIDENT
18 5555 MELROSE AVENUE                                Phone: (323) 956-5000                                                      TRADE PAYABLES                                                                       $         590,548
     HOLLYWOOD, CA 90038                              Email: EMMA_WATTS@PARAMOUNT.COM
                                                      Fax: (323) 956-0121


                                                      Attn: PRESIDENT OR GENERAL COUNSEL
     HERCULES FILM INVESTMENTS SARL
19 5 RUE JEAN MONNET,                                                                                                            TRADE PAYABLES                                                                       $         584,320
     LUXEMBOURG



                                                      Attn: LIAM BOLLAND
     AEROCONSEIL SAS
                                                      Title: COO
     3 RUE DIEUDONNE COSTES
20                                                    Phone: 33 5 67 20 80 00                                                    TRADE PAYABLES                                                                       $         556,305
     BLAGNAC, 31703
                                                      Email: LIAM.BOLAND@AERLINGUS.COM
     FRANCE
                                                      Fax: 33 56 720 8501



     FOX INTERNATIONAL CHANNELS (US) INC              Attn: RUPERT MURDOCH
     10201 W. PICO BLVD                               Title: CHAIRMAN
21                                                                                                                               TRADE PAYABLES                                                                       $         548,824
     LOS ANGELES, CA 90064-2606                       Phone: (310) 369-8759




                                                      Attn: BOYD MUIR
     UNIVERSAL MUSIC GROUP
                                                      Title: EVP & CFO
     2220 COLORADO AVENUE
22                                                    Phone: (818) 286-7420                                                       LICENSING FEES                                                                      $         545,642
     SANTA MONICA, CA 90404
                                                      Email: BOYD.MUIR@UNIVERSALMUSIC.COM
                                                      Fax: (310) 235-4907


     TRANS WORLD INTERNATIONAL LLC                    Attn: GEORGE PYNE
     200 5TH AVE 7TH                                  Title: PRESIDENT
23                                                                                                                               TRADE PAYABLES                                                                       $         544,642
     NEW YORK, NY 10010                               Phone: (212) 489-8300




                                                      Attn: ANAND MAHENDRA
     BOEING
                                                      Title: CFO
     100 NORTH RIVERSIDE PLAZA
24                                                    Phone: (425) 965-4000                                                      TRADE PAYABLES                                                                       $         535,651
     CHICAGO, IL 60606
                                                      Email: ANAND.MAHENDRA@BOEING.COM
                                                      Fax: (202) 358-4338


   A24 FILMS LLC
                                                      Attn: DAVID FENKEL
   31 WEST 27TH ST.
                                                      Title: CO-FOUNDER & PARTNER
25 11TH FLOOR                                                                                                                    TRADE PAYABLES                                                                       $         518,738
                                                      Phone: (646) 568-6015
   NEW YORK, NY 10001
                                                      Email: DAVID.FENKEL@GMAIL.COM



                                                      Attn: AMY HOOD
     MICROSOFT CORPORATION
                                                      Title: CFO
     ONE MICROSOFT WAY
26                                                    Phone: (425) 882-8080                                                      TRADE PAYABLES                                                                       $         484,836
     REDMOND, WA 98052
                                                      Email: AMYHOOD@MICROSOFT.COM
                                                      Fax: (725) 936-7329


                                                      Attn: KENNETH W. LOWE
   SCRIPPS NETWORKS
                                                      Title: CEO
   9721 SHERRILL BLVD
27                                                    Phone: (865) 694-2700                                                      TRADE PAYABLES                                                                       $         481,687
   KNOXVILLE, TN 37932
                                                      Email: KLOWE@SCRIPPSNETWORKS.COM
                                                      Fax: (865) 985-7778


                                                      Attn: ROBERT BAKISH
     CBS INC.
                                                      Title: PRESIDENT & CEO
     51 W. 52ND STREET
28                                                    Phone: (212) 975-4321                                                      TRADE PAYABLES                                                                       $         448,963
     NEW YORK, NY 10019
                                                      Email: ROBERT.BAKISH@VIMN.COM
                                                      Fax: (212) 975-4321




Modified Form 204                                                         Chapter 11 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                                     Page 3
                                                               Case 20-11835-JTD                                            Doc 1                 Filed 07/22/20                            Page 17 of 25
Debtor     Global Eagle Entertainment Inc.                                                                                                                                                                                                             Case number (if known): TBD




    Name of creditor and complete mailing address,                   Name, telephone number, and email address of creditor contact                                     Nature of the Claim       Indicate if claim   Amount of unsecured claim
    including zip code                                                                                                                                                 (for example, trade      is contingent,       If the claim is fully unsecured, fill in only unsecured
                                                                                                                                                                       debts, bank loans,       unliquidated, or     claim amount. If claim is partially secured, fill in total
                                                                                                                                                                       professional services,   disputed             claim amount and deduction for value of collateral or
                                                                                                                                                                       and government                                setoff to calculate unsecured claim.
                                                                                                                                                                       contracts)
                                                                                                                                                                                                                     Total claim, if    Deduction for       Unsecured claim
                                                                                                                                                                                                                     partially          value of
                                                                                                                                                                                                                     secured            collateral or
                                                                                                                                                                                                                                        setoff


                                                                     Attn: HANNES NIEDERHAUSER
   KONTRON AMERICA
                                                                     Title: CHAIRMAN OF THE MANAGEMENT BOARD & CEO
   9477 WAPLES STREET
29                                                                   Phone: (888) 294-4558                                                                                TRADE PAYABLES                                                                     $         439,300
   SAN DIEGO, CA 92121
                                                                     Email: HANNES.NIEDERHAUSER@KONTRON.COM
                                                                     Fax: (858) 677-0898



   TURKISH AIRLINES TECHNIC INC.
                                                                     Attn: MEHMET ILKER AYCI
   TÜRK HAVA YOLLARI TEKNIK A.Ş. SABIHA
                                                                     Title: CHAIRMAN OF THE BOARD & THE EXECUTIVE COMMITTEE
   GÖKÇEN
30                                                                   Phone: 90 216 585 98 00                                                                              TRADE PAYABLES                                                                     $         435,794
   ULUSLARARASI HAVALIMANI NO:3 E KAPISI
                                                                     Email: MEHMET.ILKER@TURKISHTECHNIC.COM
   34912 PENDIK
                                                                     Fax: 90 216 585 98 18
   ISTANBUL, TURKEY




Note: Unsecured amounts contain projected estimates of pre-petition liability as of the Petition Date and are subject to change as accrued liabilities are invoiced.




Modified Form 204                                                                                Chapter 11 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                                                     Page 4
                Case 20-11835-JTD               Doc 1       Filed 07/22/20           Page 18 of 25


 Fill in this information to identify the case and this filing:

 Debtor Name Global Eagle Entertainment Inc.

 United States Bankruptcy Court for the District of Delaware

 Case number (if known):


Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                 12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or
partnership, must sign and submit this form for the schedules of assets and liabilities, any other document
that requires a declaration that is not included in the document, and any amendments of those documents.
This form must state the individual’s position or relationship to the debtor, the identity of the document, and
the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining
money or property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or
imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


            Declaration and signature

        I am the president, another officer, or an authorized agent of the corporation; a member or an authorized
        agent of the partnership, or another individual serving as a representative of the debtor in this case.

        I have examined the information in the documents checked below and I have a reasonable belief that the
        information is true and correct:

        ☐        Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

        ☐        Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

        ☐        Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

        ☐        Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

        ☐        Schedule H: Codebtors (Official Form 206H)

        ☐        Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

        ☐        Amended Schedule ___

        ☒        Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest
                 Unsecured Claims and Are Not Insiders (Official Form 204)

        ☐        Other document that requires a declaration

        I declare under penalty of perjury that the foregoing is true and correct.

        Executed on       07/22/2020                            X         /s/ Christian M. Mezger
                          MM/DD/YYYY                                      Signature of individual on behalf of debtor

                                                                          Christian M. Mezger
                                                                          Printed name

                                                                          Chief Financial Officer
                                                                          Position or relationship to debtor
                   Case 20-11835-JTD              Doc 1       Filed 07/22/20         Page 19 of 25




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

--------------------------------------------------------- x
                                                          :
In re:                                                    : Chapter 11
                                                          :
GLOBAL EAGLE ENTERTAINMENT INC., : Case No. 20-_____ (___)
                                                          :
                    Debtor.                               : Tax I.D. No. XX-XXXXXXX
                                                          :
--------------------------------------------------------- x

                                LIST OF EQUITY SECURITY HOLDERS

       Pursuant to Fed. R. Bankr. P. 1007(a)(3), provided below are holders of any class of Global
Eagle Entertainment Inc.’s equity securities.1

           Holder                        Address                   Class of Interest                    Units

    Arturo & Jan Cuadra Available Upon Request                       Common Stock                        231

      AST as Escrow
                                Attn: Joe Smith, Reorg
     Agent for Row 44
                                    6201 15th Ave,                   Common Stock                         99
     Shareholders 10%
                                 Brooklyn, NY 11219
         Holdback

                                  280 South Mangum
    Blackwell Partners
                                    Street Suite 210                 Common Stock                     105,346
      LLC Series A
                                  Durham, NC 27701

     Brackmann 1992
                                Available Upon Request               Common Stock                        140
    Descendant S Trust
                                     PO POX 20
     Cede & Co (Fast
                                 Bowling Green Station               Common Stock                    2,266,014
        Account)
                                 New York, NY 10004
                                  11445 E Via Linda
     Channel Holdings
                                     Suite 2 #411                    Common Stock                          1
       (Nevis) LLC
                                 Scottsdale, AZ 85259

       Chris Browne             Available Upon Request               Common Stock                         78

      Clinton E Howe            Available Upon Request               Common Stock                        231


1
     The entities set forth below comprise all holders directly registered with the transfer agent as of July 8, 2020.
            Case 20-11835-JTD       Doc 1     Filed 07/22/20   Page 20 of 25




  Dan Harrington      Available Upon Request      Common Stock                 141

 Daniel F Selleck
                      Available Upon Request      Common Stock                 416
      Trust

Daniel M Bagley III   Available Upon Request      Common Stock                 48

   Dara Mohtadi       Available Upon Request      Common Stock                 62

  David M Davis       Available Upon Request      Common Stock                 775

    Derek R
                      Available Upon Request      Common Stock                 38
   Rambissoon

  Douglas Murri       Available Upon Request      Common Stock                 242

                      3044 North Commerce
 EMC Acquisition
                            Parkway               Common Stock            195,915
  Holding LLC
                      Hollywood, FL 33025

                        888 Boylston Street
 EMC Aggregator
                            16th Floor            Common Stock            182,316
     LLC
                        Boston, MA 02199

  Eric Benjamin
                      Available Upon Request      Common Stock                  6
      Jacobs

    Erik Seidel       Available Upon Request      Common Stock                 471

 Gregg Fialcowitz     Available Upon Request      Common Stock             8,955

  H Travis Christ     Available Upon Request      Common Stock                  3

Howard Lefkowitz      Available Upon Request      Common Stock                  4
                      11717 Exploration Lane
  Hughes Satellite
                        Germantown, MD            Common Stock             19,258
Systems Corporation
                             20876
    Ian Imrich        Available Upon Request      Common Stock                 929

  James L Dubois      Available Upon Request      Common Stock                 52

   James Varley       Available Upon Request      Common Stock                 10

  Jane Rizzo &
                      Available Upon Request      Common Stock                  4
  William Rizzo



                                              2
           Case 20-11835-JTD     Doc 1   Filed 07/22/20   Page 21 of 25




   Jeffrey Carl
                    Available Upon Request   Common Stock                 334
   White Trust

  Jeffry Lipton     Available Upon Request   Common Stock                 23

   Jerry Brown      Available Upon Request   Common Stock                 38

  John Guidon       Available Upon Request   Common Stock                 651

  John La Valle     Available Upon Request   Common Stock                 16

 John McMullin      Available Upon Request   Common Stock                 48

Jorgan Gismervik    Available Upon Request   Common Stock             7,592

  Joshua Blake
                    Available Upon Request   Common Stock             3,244
     Mclane

   Judy Varley      Available Upon Request   Common Stock                 1

  Justin Silvers    Available Upon Request   Common Stock                  6

                       423 River Street
  Krollstar LLP                              Common Stock                 41
                    Minneapolis, MN 55401

   Kuan Chin        Available Upon Request   Common Stock                 51

 Luszczak Family
                    Available Upon Request   Common Stock                 12
      Trust

  Lynn Schultz      Available Upon Request   Common Stock                 20

 Magne Nerheim      Available Upon Request   Common Stock                 427

  Marc Springer     Available Upon Request   Common Stock                 130

Marianne Dukaskis   Available Upon Request   Common Stock                  2

  Mark Ethridge     Available Upon Request   Common Stock                 48

   Mark Kroll       Available Upon Request   Common Stock                 219




                                         3
            Case 20-11835-JTD      Doc 1    Filed 07/22/20   Page 22 of 25




Mark Kroll & Lori
Kroll TTEES Kroll
                      Available Upon Request    Common Stock                 154
 Family Trust Dtd
   08/14/2012

Mark M And Nancy
                      Available Upon Request    Common Stock                  2
    B Jacobs

  Mark P Mielke       Available Upon Request    Common Stock                 52

   Mark Rugg          Available Upon Request    Common Stock                 65

  Mark Springer       Available Upon Request    Common Stock                 694

  Michael Pigott      Available Upon Request    Common Stock             1,162

 MLB Advanced            75 Ninth Avenue
                                                Common Stock             6,779
   Media LP            New York, NY 10011

Nantahala Capital
                      130 Main St 2nd Floor
Partners II Limited                             Common Stock            159,129
                      New Canaan, CT 06840
    Partnership

Nantahala Capital
                      130 Main St 2nd Floor
Partners Limited                                Common Stock             50,609
                      New Canaan, CT 06840
  Partnership

Nantahala Capital     130 Main St 2nd Floor
                                                Common Stock            378,146
 Partners SI LP       New Canaan, CT 06840

                      130 Main St 2nd Floor
   NCP QR LP                                    Common Stock             76,604
                      New Canaan, CT 06840

                       3963 Maple Avenue
Newstone Capital
                            Suite 100           Common Stock             4,916
 Partners II LP
                        Dallas, TX 78219

 Nicole Luszczak      Available Upon Request    Common Stock                  6

 Nimrod A Itach       Available Upon Request    Common Stock                 363

    Phil Ivey         Available Upon Request    Common Stock                 283

Roxanne Franklin      Available Upon Request    Common Stock                 184

 Roxanne White        Available Upon Request    Common Stock                 208



                                           4
           Case 20-11835-JTD       Doc 1     Filed 07/22/20   Page 23 of 25




 Scott M Sweeney      Available Upon Request     Common Stock                 48

  Scott P Kamara      Available Upon Request     Common Stock                 52

Searchlight II TBO-       745 5th Ave
                                                 Common Stock            200,000
      W LP             New York, NY 10151

  Sharon Rodkey       Available Upon Request     Common Stock                 2

   Shaun Davis        Available Upon Request     Common Stock                 48

Silver Creek CS Sav   1301 5th Ave 40th Floor
                                                 Common Stock             30,163
        LLC             Seattle, WA 98101

Stephanie Beacham     Available Upon Request     Common Stock                 42

  Stephen Harvey      Available Upon Request     Common Stock                 115

 Stephen Redford      Available Upon Request     Common Stock             1,307

  Steven Tucker       Available Upon Request     Common Stock                 71

                      2220 Colorado Avenue
 UMG Recordings
                        Santa Monica, CA         Common Stock             47,891
      Inc
                              90404

William F Shinkle     Available Upon Request     Common Stock                 24




                                           5
               Case 20-11835-JTD          Doc 1     Filed 07/22/20      Page 24 of 25




                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

--------------------------------------------------------- x
                                                          :
In re:                                                    : Chapter 11
                                                          :
GLOBAL EAGLE ENTERTAINMENT INC., : Case No. 20-_____ (___)
                                                          :
                    Debtor.                               : Tax I.D. No. XX-XXXXXXX
                                                          :
--------------------------------------------------------- x

                          CORPORATE OWNERSHIP STATEMENT

       Pursuant to Fed. R. Bankr. P. 1007(a)(1) and Fed. R. Bankr. P. 7007.1, provided below are
the corporations, other than governmental units, that directly or indirectly own 10% or more of
any class of Global Eagle Entertainment Inc.’s equity interests.

             Holder                            Address                  Percentage of Equity Held

       Nantahala Capital            130 Main St. 2nd Floor, New
                                                                                      31.0%
       Management, LLC                  Canaan, CT 06840

                                      888 Boylston Street, 16th
     ABRY Partners, LLC                                                               10.1%
                                      Floor, Boston, MA 02199
                                    Case 20-11835-JTD                        Doc 1        Filed 07/22/20            Page 25 of 25




 Fill in this information to identify the case:

 Debtor name         Global Eagle Entertainment Inc.

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                           12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                 Schedule H: Codebtors (Official Form 206H)
                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration     Corporate Ownership Statement, List of Equity Security Holders

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          July 22, 2020                           X /s/ Christian M. Mezger
                                                                        Signature of individual signing on behalf of debtor

                                                                      Christian M. Mezger
                                                                       Printed name

                                                                       Chief Financial Officer
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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